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                                                         Individual Estate Property Record and Report
                                                                          Asset Cases
Case Number:         19-51169 AMK                                                                 Trustee: (550340)           HAROLD A. CORZIN
Case Name:           PARHAM, SHANNON JEAN                                                         Filed (f) or Converted (c): 05/17/19 (f)
                                                                                                  §341(a) Meeting Date:       08/19/19
Period Ending:       10/15/19                                                                     Claims Bar Date:            01/17/20

                                1                                              2                         3                           4                     5                    6

                       Asset Description                                   Petition/             Estimated Net Value             Property            Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)                     Unscheduled        (Value Determined By Trustee,       Abandoned            Received by        Administered (FA)/
                                                                            Values             Less Liens, Exemptions,      OA=§554(a) abandon.       the Estate         Gross Value of
Ref. #                                                                                             and Other Costs)                                                     Remaining Assets

 1       2013 FORD FUSION, 123742.2 MILES                                      9,749.00                           0.00                                           0.00                  FA

 2       HOUSEHOLD GOODS AND FURNISHINGS                                       1,500.00                           0.00                                           0.00                  FA

 3       VARIOUS ELECTRONICS                                                       500.00                         0.00                                           0.00                  FA

 4       CLOTHING                                                                  500.00                         0.00                                           0.00                  FA

 5       CASH                                                                       19.00                         0.00                                           0.00                  FA

 6       JP MORGAN CHASE CHECKING ACCOUNT                                            0.08                         1.00                                           0.00                1.00
           *Account statement not yet provided; value to estate
         currently unknown.

 7       PREFERENTAIL TRANSFERS IN FORM OF WAGE                                1,459.38                           1.00                                           0.00                1.00
          GARNISHMENTS

 8       PRORATED PORTION OF 2019 FEDERAL AND STATE                           Unknown                             1.00                                           0.00                1.00
         (u)
           TAX REFUNDS IF ANY

 8       Assets          Totals (Excluding unknown values)                  $13,727.46                          $3.00                                           $0.00               $3.00


     Major Activities Affecting Case Closing:
              Trustee will administer unexempt liquid assets if any; Trustee will attempt to avoid wage garnishments which constitute preferential transfers.




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Ref. #                                                                                    and Other Costs)                                                 Remaining Assets

    Initial Projected Date Of Final Report (TFR): March 31, 2021                     Current Projected Date Of Final Report (TFR): March 31, 2021




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